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 1   SCOTT VOELZ
 2   (S.B.N. 181415)
     svoelz@omm.com
 3   ANDREW J. WEISBERG
 4   (S.B.N. 307519)
     aweisberg@omm.com
 5   CHRISTIANNA KYRIACOU MANTAS
 6   (S.B.N. 313379)
     ckyriacou@omm.com
 7   O’MELVENY & MYERS LLP
 8   400 South Hope Street, 18ᵗʰ Floor
     Los Angeles, California 90071-2899
 9   Telephone: +1 213 430 6000
10   Facsimile: +1 213 430 6407
11   Attorneys for Counter-Claimant XPO
12
     Logistics Cartage, LLC and Defendants
     XPO Port Services Inc., XPO Logistics
13   Port Services, LLC, and XPO Logistics,
14   Inc.

15                      UNITED STATES DISTRICT COURT
16                     CENTRAL DISTRICT OF CALIFORNIA
17

18   VICTOR CORTEZ ARRELLANO,                 Case No. 2:18-cv-08220-RGK-E
     AND ON BEHALF OF ALL
19                                            MEMORANDUM OF POINTS
     UNNAMED PLAINTIFFS
20   SIMILARLY SITUATED,                      AND AUTHORITIES IN
                                              SUPPORT OF DEFENDANTS’
21                     Plaintiffs,            MOTION FOR PARTIAL
22                                            SUMMARY JUDGMENT
           v.
23                                            Dept:    850
     XPO PORT SERVICE INC.; and DOES          Judge:   Hon. R. Gary Klausner
24   1 through 50, inclusive,                 Date:    July 26, 2021
25                                            Time:    9:00 a.m.
                    Defendants.
26   _________________________________        REDACTED VERSION OF
27
                                              DOCUMENT PROPOSED TO BE
                                              FILED UNDER SEAL
28
                                                   MEMO. OF POINTS & AUTHORITIES ISO
                                                      MOT. FOR PARTIAL SUMM. JUDG.
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 1

 2   XPO LOGISTICS CARTAGE, LLC,
 3                    Counter-Claimant,
 4        v.
 5   REYNALDO GOMEZ ACOSTA, and
 6   SERVANDO AVILA LUCIANO,
 7                    Counter-Defendants.
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 1   I.    INTRODUCTION
 2         In their Fifth Amended Class Action Complaint (“Complaint”), Plaintiffs
 3   Reynaldo Gomez Acosta, Servando Avila Luciano, and Felix Nunez Duarte
 4   (collectively, “Plaintiffs”) accuse Defendants XPO Port Services Inc.,1 XPO
 5   Logistics Port Services, LLC, and XPO Logistics, Inc. (collectively, “XPO”) of
 6   engaging in a “well orchestrated conspiracy” to intentionally misclassify their
 7   drivers as independent contractors instead of as employees. See Dkt. 129 ¶¶ 7-9,
 8   14. However, in Plaintiffs’ haste to falsely accuse XPO of a litany of
 9   transgressions, they overlook many of their arguments’ fundamental flaws.
10   Consequently, a number of Plaintiffs’ claims—their claims for willful
11   misclassification; claims for “charge-back” deductions; claims for wages due at
12   termination, waiting time, and failure to provide sufficient wage statements; claims
13   for missed meal and rest breaks; and related and other claims under the Private
14   Attorneys General Act (“PAGA”)—fail as a matter of law, and/or are simply
15   impossible to adjudicate on a class-wide basis. Accordingly, XPO’s Motion for
16   Partial Summary Judgment (“Motion”) should be granted in full.
17   II.   BACKGROUND FACTS
18         A.     The Parties and Their Claims
19         XPO Logistics Port Services, LLC (“XPO Port Services”) is a federally
20   licensed motor carrier subject to the Federal Motor Carrier Safety Regulations
21   (“FMCSRs”). Defs.’ Statement of Uncontroverted Facts and Conclusions of Law
22   in Support of Mot. for Partial Summ. J. (“SUF”) ¶ 1. XPO Port Services arranges
23   transportation to meet customer needs through contracts with commercial truck
24   owner-operators to transport freight between the marine terminals of the ports of
25   Los Angeles and Long Beach and various customers. Id. ¶ 2. The operators of
26   those vehicles, who contract directly with XPO Port Services or are employed by an
27
     1
      XPO Port Services, Inc. is the predecessor company to XPO Logistics Port
28
     Services, LLC. XPO Port Services, Inc. is now a defunct entity.
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 1   individual or entity that itself contracts with XPO Port Services, are also subject to
 2   the FMCSRs, as are all commercial truck drivers. Id. ¶¶ 3, 4.
 3         Individuals and entities who agree to provide transportation services to XPO
 4   Port Services (“Contractors”) enter into an Independent Contractor Operating
 5   Agreement (“ICOC”) that sets forth the terms and conditions of the parties’
 6   contractual relationship. See id. ¶ 5. XPO entered into ICOCs with Plaintiffs
 7   Acosta, Luciano, and Duarte,2 as well as Plaintiffs Edgardo Villatoro, Manuel de
 8   Jesus Martinez Mejia, and Gerald Daniels.3 Id. ¶ 6.
 9         Plaintiffs’ Complaint asserts that XPO improperly treated Plaintiffs as
10   independent contractors instead of employees. See Dkt. 129. Based on that,
11   Plaintiffs claim that XPO willfully misclassified them as independent contractors
12   (Lab. Code § 226.8); failed to reimburse business expenses (Lab. Code §§ 221,
13   226.8, and 2802); failed to pay all wages due at termination of employment, leading
14   to waiting time penalties (Lab. Code § 203); failed to pay all wages owed in a
15   timely manner (Lab. Code § 204); failed to provide meal periods for short haul
16   drivers (Lab. Code §§ 226.7 and 512); failed to provide rest periods (Lab. Code §§
17   226.7, 512, 1194); failed to provide timely, accurate wage statements (Lab. Code §§
18   226, 226.3); and is responsible for unfair competition (Bus. & Prof. Code §§ 17200
19   et seq.); and penalties under PAGA (Lab. Code §§ 2698 et seq.).4 See Dkt. 129.
20

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     2
       Plaintiffs Acosta and Luciano are not within the scope of the certified class, as
22
     they contracted with XPO Cartage in San Diego, not XPO Port Services in Rancho
23   Dominguez. See Dkt. 101 at 3 (defining certified class); SUF ¶ 7.
     3
       Plaintiffs Villatoro, Mejia, and Daniels initially filed a separate lawsuit against
24
     XPO Port Services, alleging claims substantially similar to those in the Complaint.
25   That matter was closed and consolidated with the above-entitled action on January
     14, 2021, (see C.D. Cal. Case No. 2:19-cv-09199-RGK-E (Dkt. 30)), making the
26
     Complaint representative of Villatoro’s, Mejia’s, and Daniels’s claims as well.
     4
27     Plaintiffs had also asserted a claim for failure to pay minimum wage (Labor Code
     §§ 1194, 1194.2, and 1197) but have stipulated to dismiss it, as well as the aspects
28
     of their PAGA claim that are premised on it. See Dkt. 152. Plaintiffs have also
                                                          MEMO. OF POINTS & AUTHORITIES ISO
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 1   III.   LEGAL STANDARD
 2          “Summary judgment is appropriate when the pleadings, affidavits and other
 3   material present no genuine issue of material fact and the moving party is entitled to
 4   judgment as a matter of law.” Rebel Oil Co., Inc. v. Atl. Richfield Co, 51 F.3d
 5   1421, 1432 (9th Cir. 1995); see also Fed. R. Civ. P. 56(a). Upon a showing that
 6   there is no genuine dispute of material fact as to particular claim, the court may
 7   grant partial summary judgment pertaining to that specific claim. See Fed. R. Civ.
 8   P. 56(a). The non-moving party can only create a “genuine” dispute by adducing
 9   admissible evidence on the issue upon which a reasonable jury could find for the
10   non-moving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
11   574, 587 (1986) (citing Fed. R. Civ. P. 56 (e)).
12   IV.    ARGUMENT
13          A.    There Is No Private Right of Action For Willful Misclassification
14          Plaintiffs’ first cause of action asserts that Defendants intentionally
15   misclassified them as independent contractors, not employees, in violation of
16   California Labor Code § 226.8. Dkt. 129 ¶¶ 32-57. On its face, this cause of action
17   fails as a matter of law: there is no private right of action for violations of
18   California Labor Code § 226.8. See, e.g., Colopy v. Uber Techs. Inc., 2019 WL
19   6841218, at *7 (N.D. Cal. Dec. 16, 2019) (“[U]nder current case law, section 226.8
20   does not provide a private right of action.”); Romano v. SCI Direct, Inc., 2017 WL
21   8292778, at *8 (C.D. Cal. Nov. 27, 2017) (“[T]here is no private right of action for
22   a violation of Section 226.8. Therefore, the Court DISMISSES Plaintiffs’ claim for
23   a willful misclassification of an individual as an independent contractor, without
24   leave to amend.”); Johnson v. Serenity Transportation, Inc., 2015 WL 4913266, at
25   *4 (N.D. Cal. Aug. 17, 2015) (“To be sure, there is no private right of action under
26   Section 226.8.”); Rosset v. Hunter Eng’g Co., 2014 WL 3569332, at *8 (N.D. Cal.
27
     stipulated to dismiss certain other aspects of their PAGA claim which, as a result,
28
     are not addressed here. See Dkt. 154.
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 1   July 17, 2014) (finding that plaintiffs’ willful misclassification claim “fails as a
 2   matter of law”); Villalpando v. Exel Direct Inc., 2014 WL 1338297, at *19 (N.D.
 3   Cal. Mar. 8, 2014) (dismissing willful misclassification claim with prejudice
 4   because there is no private right of action under Section 226.8); Provost v.
 5   YourMechanic, Inc., 55 Cal. App. 5th 982, 997 (2020) (no private right of action to
 6   pursue claim for “willful[ ] mis[classification]” under Section 226.8); Noe v.
 7   Superior Court, 237 Cal. App. 4th 316, 320 (2015) (“section 226.8 cannot be
 8   enforced through a direct private action”). Thus, summary judgment is warranted.
 9         B.     Deductions From Plaintiffs’ Settlements Do Not Violate the
10                California Labor Code Because Federal Law Authorizes Them
11         Plaintiffs’ second cause of action claims that XPO violated California Labor
12   Code sections 226.8, 221, and 2802 by failing to reimburse Plaintiffs for “all
13   expenditures or losses incurred in direct consequence of the discharge of their
14   duties,” deducting certain of those costs from Plaintiffs’ settlement compensation,
15   and failing to properly itemize those deductions. See Dkt. 129 ¶¶ 59-62, 65; see
16   also id. ¶ 25 (claiming Plaintiffs were “wrongfully required to bear the costs of
17   Defendants’ business expenses which Defendants did not reimburse to their
18   drivers”). That claim, too, fails as a matter of law. As an initial matter, as
19   discussed above in Section A, there is no private right of action under California
20   Labor Code section 226.8. Furthermore, Plaintiffs’ argument under California
21   Labor Code sections 221 and 2802 cannot succeed because the deductions at issue
22   are permitted under federal law—and are, therefore, permitted under the California
23   Labor Code as well. Plaintiffs’ related PAGA claims (see Dkt. 129 ¶ 130) fail for
24   the same reason.
25         Federal law vests the United States Department of Transportation (“DOT”)
26   with the authority “to regulate the relationship between owner-operators and motor
27   carriers.” Owner-Operator Indep. Drivers Ass’n, Inc. v. Swift Transp. Co., 632
28   F.3d 1111, 1113 (9th Cir. 2011); 49 U.S.C. § 14102(a). The DOT’s regulations
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 1   apply without regard to whether the lessors of the motor vehicle (i.e., Plaintiffs) are
 2   deemed to be employees or independent contractors vis-à-vis the lessee (i.e., XPO).
 3   See 49 C.F.R. §§ 376.11, 376.12(c)(4); Amerigas Propane, LP v. Landstar Ranger,
 4   Inc., 184 Cal. App. 4th 981, 995, 999-1001 (2010). The DOT’s Federal Motor
 5   Carrier Leasing Regulations (“FMCLRs”) “set forth specific requirements with
 6   regard to charge-backs,” such as the deductions at issue here. See Swift, 632 F.3d at
 7   1113; see also 49 C.F.R. § 376.12(h). The FMCLRs contemplate that under the
 8   terms of a lease (i.e., the ICOC), the lessor (i.e., Plaintiffs) may be responsible for a
 9   number of specific, business-related charge-backs such as fuel costs, insurance, and
10   escrow payments.5 See 49 C.F.R. § 376.12. Importantly, although Plaintiffs’
11   Complaint does not specify the particular “business expenses” they take issue with
12   being charged for, (see Dkt. 129 ¶¶ 58-66), the FMCLRs permit parties to include
13   certain charge-back items in their lease as long as (1) the lease “clearly specif[ies]”
14   the charge-back, (2) provides “a recitation as to how the amount of each item is to
15   be computed,” and (3) ensures that the lessor is “afforded copies of those
16   documents which are necessary to determine the validity of the charge.” 49 C.F.R.
17   § 376.12(h).
18         Those elements are readily met in the ICOC. For purposes of the first
19   element,
20

21

22                                                                                     .” See
23
     5
       See 49 C.F.R. § 376.12(e) (“The lease shall clearly specify the responsibility of
24
     each party with respect to the cost of fuel . . . .”); id. § 376.12(j)(2) (“If the lessor
25   purchases any insurance coverage for the operation of the leased equipment from or
     through the authorized carrier . . . .”); id. § 376.12(k)(1),(6) (noting that “If escrow
26
     funds are required, the lease shall specify” (1) “[t]he amount of any escrow fund . . .
27   required to be paid by the lessor to the authorized carrier[.]” and (6) “[t]he
     conditions the lessor must fulfill in order to have the escrow fund returned”); see
28
     also id. § 376.2(l) (defining “Escrow fund”).
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 1   SUF ¶ 10 (ICOC ¶ 18); see also id. Schedule C ¶ 1 (                                 ).
 2   Second,
 3                                                   . Id. ¶ 11. For example,
 4

 5

 6       . See id. ¶ 12 (Schedule C.1 at pp. 2-4, Schedule E, Schedule I, and Schedule
 7   M). Finally, the third element of 49 C.F.R. § 376.12(h) is met
 8

 9

10

11

12

13              ” Id. ¶ 13. Indeed, discovery in this case shows that, contrary to
14   Plaintiffs’ allegations, (see Dkt. 129 ¶ 62 (“Defendants . . . failed to properly
15   itemize all deductions”)), XPO did exactly that. Id. ¶ 14 (Voelz Decl. Exs. DDD,
16   EEE, and SSS (itemizing and specifying deductions from settlement
17   compensation)).
18          Section 221 of the California Labor Code, which Plaintiffs claim XPO
19   violated (Dkt. 129 ¶ 65), makes it “unlawful for any employer to collect or receive
20   from an employee any part of wages theretofore paid by said employer to said
21   employee”—a provision that, like Labor Code Section 2802, generally prohibits an
22   employer from making deductions from an employee’s wages. However, Section
23   224 of the California Labor Code provides that “[t]he provisions of Sections 221,
24   222 and 223 shall in no way make it unlawful for an employer to withhold or divert
25   any portion of an employee’s wages when the employer is required or empowered
26   so to do by state or federal law . . . .” (emphasis added). Accordingly, a party who
27   is empowered by “federal law” to make certain deductions may make those
28   deductions without violating Section 221—thereby explicitly permitting federal
                                                           MEMO. OF POINTS & AUTHORITIES ISO
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 1   law, such as the FMCLRs, to control over contrary provisions of the California
 2   Labor Code. Indeed, federal and state courts have repeatedly treated Section 224 as
 3   creating an exemption to the wage deduction provisions in California Labor Code
 4   Sections 221-223.6 Simply put, given the explicit exception to Section 221 created
 5   by Section 224 as applicable here, Plaintiffs’ reliance on Section 221 cannot stand.
 6         The record shows that XPO’s charge-back deductions comply with the
 7   FMCLRs (49 C.F.R. § 376.12(h)). They occurred pursuant to the parties’ lease
 8   agreement (ICOC), which expressly authorizes XPO to pay for certain expenses
 9   incurred by Contractors in advance and then deduct the costs of those expenses
10   from Contractors’ contractual settlements; explains how each deduction is
11   calculated; and makes available documents sufficient to confirm the validity of the
12   charge. Those expenses include the very “business expenses” for which Plaintiffs
13   apparently seek reimbursement, such as fuel, insurance, escrow charges for tablets,
14   and administrative fees. See id. Because the deductions taken by XPO are
15   authorized by federal law, they are permitted under the California Labor Code via
16   Section 224.
17         To the extent that Plaintiffs claim Section 2802 overrules Section 224, they
18   are wrong. It is a well-settled principle of statutory interpretation that courts must
19   “interpret the words of a regulation in context, harmonizing to the extent possible
20
     6
21    See, e.g., Sarmiento v. Sealy, Inc., 367 F. Supp. 3d 1131, 1145 (N.D. Cal. Feb. 14,
     2019) (“Labor Code section 224 sheds further light on this regulatory scheme. It
22
     creates exceptions to the wage deduction prohibitions in sections 221, 222, and 223
23   for certain categories, such as deductions required by state or federal law[.]”);
     Aguilar v. Zep Inc., 2014 WL 4245988, at *14 n.6 (N.D. Cal. Aug. 27, 2014);
24
     Huimin Song v. Cnty. of Santa Clara, 2013 WL 6225263, at *8 (N.D. Cal. Nov. 25,
25   2013); Tech. & Intellectual Prop. Strategies Grp. PC v. Fthenakis, 2011 WL
     3501690, at *7 (N.D. Cal. Aug. 10, 2011); Hubins v. Operating Eng’rs Local Union
26
     No. 3, 2004 WL 2203555, at *9 (N.D. Cal. Sept. 29, 2004); Sciborski v. Pac. Bell
27   Directory, 205 Cal. App. 4th 1152, 1167 (2012); Prachasaisoradej v. Ralphs
     Grocery Co., 42 Cal. 4th 217, 222 (2007); Finnegan v. Schrader, 91 Cal. App. 4th
28
     572, 584 (2001).
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 1   all provisions relating to the same subject matter,” see Simi Corp. v. Garamendi,
 2   109 Cal. App. 4th 1496, 1506 (2003), and in the event of a conflict between specific
 3   and general provisions (as with sections 224 and 2802) the specific provision
 4   prevails. See Spriesterbach v. Holland, 215 Cal. App. 4th 255, 270-71 (2013)
 5   (“[W]hen harmonizing two statutes relating to the same subject, a particular or
 6   specific statute will take precedence over a conflicting general statute.”); Arterberry
 7   v. Cnty. of San Diego, 182 Cal. App. 4th 1528, 1536 (2010) (same).
 8         Here, federal regulations set forth specific conditions under which settlement
 9   deductions are authorized. See 49 C.F.R. § 376.12(h). Section 224 of the Labor
10   Code, in turn, allows motor carriers to make them. Section 2802, on the other hand,
11   is a general provision requiring employers (without considering whether they are in
12   transportation or other regulated industries affected by the Section 224 carve out) to
13   reimburse employees for expenses incurred during the course of employment. See
14   Stuart v. RadioShack Corp, 641 F. Supp. 2d 901, 902 (N.D. Cal. 2009). Thus, the
15   specific language in Section 224 authorizing XPO’s federally-permitted deductions
16   under the Labor Code supersedes the general provisions in Section 2802.
17   Otherwise, activities which are permissible under Section 224, such as lease
18   chargebacks, would simultaneously be impermissible under Section 2802—a result
19   that makes no sense and is inconsistent with the accepted principles of statutory
20   interpretation. Accordingly, Plaintiffs cannot recover the deductions at issue under
21   Section 2802 as it conflicts with the more specific provisions of Section 224.
22         C.     XPO’s Good Faith Belief That Plaintiffs Are Independent
23                Contractors Forecloses Plaintiffs’ Claims for Wages Due at
24                Termination, Waiting Time, Itemized Wage Statements, and
25                Related PAGA Claims.
26         Plaintiffs’ Complaint also alleges numerous causes of action that depend on
27   showing XPO’s intentional, or willful, violation of the California Labor Code. For
28   example, Plaintiffs’ fourth cause of action asserts that XPO “willfully failed to pay
                                                          MEMO. OF POINTS & AUTHORITIES ISO
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 1   Plaintiffs and Class Members who are no longer employed by Defendants for their
 2   uncompensated hours . . . upon their termination or separation from employment
 3   with [XPO]” in violation of California Labor Code sections 201 and 202, thereby
 4   incurring “waiting time penalties” pursuant to California Labor Code section 203.
 5   Dkt. 129 ¶ 84. Plaintiffs’ eighth cause of action claims that XPO failed to provide
 6   timely, and sufficiently detailed, wage statements in violation of California Labor
 7   Code § 226. Dkt. 129 ¶¶ 111-117. And Plaintiffs’ tenth cause of action asserts
 8   PAGA claims derived from the aforementioned purported violations. Dkt. 129 ¶¶
 9   130-131. None of those claims can succeed because, as discussed below, Plaintiffs
10   cannot show the requisite intent.
11         Plaintiffs’ claims for XPO’s purported failure to pay wages due upon
12   separation (i.e., waiting time penalties) and provide proper wage statements cannot
13   succeed unless Plaintiffs show that XPO “willfully” or “intentionally” violated the
14   Labor Code sections at issue. See Cal. Lab. Code § 203(a) (assigning penalties
15   where an employer “willfully fails to pay”); id. at § 226(e) (providing for penalties
16   where there is “a knowing and intentional failure by an employer” to provide
17   accurate wage statements in compliance with Section 226(a)). Without such a
18   showing of intent, Plaintiffs’ PAGA claims related to the aforementioned purported
19   violations cannot succeed either. See Durham v. Autism Spectrum Therapies, LLC,
20   2019 WL 10097456, at *4 (C.D. Cal. Oct. 31, 2019) (dismissing PAGA claim
21   derivative of California Labor Code claims that failed as a matter of law). As
22   discussed below, the record in this case inarguably shows that XPO’s failure (if
23   any) to comply with these Labor Code sections was neither willful nor intentional,
24   because XPO acted with a reasonable, good faith belief that Plaintiffs were
25   independent contractors, not employees, to whom those Labor Code provisions did
26   not apply.
27         A “good faith dispute” occurs “when an employer presents a defense, based
28   in law or fact which, if successful, would preclude any recovery on the part of the
                                                         MEMO. OF POINTS & AUTHORITIES ISO
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 1   employee.” Cal. Code Regs. tit. 8 § 13520. A good faith dispute negates the
 2   willfulness required for a claim under California Labor Code § 203, providing a
 3   well-established defense—even at the summary judgment stage—to claims under
 4   that section.7 See id.; Bargas v. Rite Aid Corp., 245 F. Supp. 3d 1191, 1215 (C.D.
 5   Cal. 2017); Alonzo v. Maximus, Inc., 832 F. Supp. 2d 1122, 1134 (C.D. Cal. 2011).
 6   Good faith similarly negates the intent requirement for claims under California
 7   Labor Code § 226, making it an established defense—even at summary judgment—
 8   to claims under that section as well. Bruers v. Flowers Foods, Inc., 2019 WL
 9   5867434, at *4 (C.D. Cal. Aug. 7, 2019) (“Though by its express terms this
10   “good faith dispute” defense applies only to waiting time penalties, both California
11   state courts and federal district courts have applied it to § 226 inaccurate wage
12   statement claims as well, as such claims require a showing of intentionality.”).8 For
13   example, in Villalpando v. Exel Direct Inc., 2015 WL 5179486 (N.D. Cal. Sept. 3,
14   2015), the Court granted summary judgment against plaintiff’s claims under
15   California Labor Code Sections 203 and 226 because the defendant had established
16   its good faith belief that its drivers were properly classified as independent
17   contractors. Id. at *36-37.
18         Like Villalpando, the record in this case supports no genuine dispute as to
19   whether, throughout the class period, Defendants claimed in good faith that
20   Plaintiffs were properly classified as independent contractors, not employees.9 In
21
     7
       Because California Labor Code Section 203 provides the penalties for claims
22
     asserted under California Labor Code Sections 201 and 202, Defendants’ good faith
23   dispute forecloses claims under those sections too. See Cal. Lab. Code § 203.
     8
       See also Pedroza v. PetSmart, Inc., 2012 WL 9506073, at *5 n.6 (C.D. Cal. June
24
     14, 2012) (granting summary judgment dismissing § 203 and § 226 claims because
25   “good faith dispute” established); Woods v. Vector Mktg. Corp., 2015 WL 2453202,
     at *3 (N.D. Cal. May 22, 2015) (same); Hurst v. Buczek Enters., LLC, 870 F. Supp.
26
     2d 810, 829 (N.D. Cal. 2012) (granting summary judgment dismissing § 226 claim
27   because “good faith dispute” established)
     9
       Even if this Court ultimately finds that Plaintiffs were actually employees, that
28
     finding would not impact Defendants’ “good faith dispute” defense. See Cal. Code
                                                          MEMO. OF POINTS & AUTHORITIES ISO
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 1   order to show otherwise, Plaintiffs would have to demonstrate that Defendants’
 2   argument was, “under all the circumstances, [ ] unsupported by any evidence, [ ]
 3   unreasonable, or [ ] presented in bad faith[.]” Cal. Code Regs. tit. 8 § 13520; see
 4   Amaral v. Cintas Corp. No. 2, 163 Cal. App. 4th 1157, 1204 (2008). Plaintiffs
 5   cannot do so here.
 6         As an initial matter, XPO notes that its good faith belief is informed by
 7   evidence from both its Cartage and Port Services divisions. Not only are the Port
 8   Services and Cartage ICOC agreements nearly identical, and provide Contractors
 9   with the same contractual freedoms (compare, e.g., SUF ¶ 15 (Voelz Decl. Ex. C,
10   Duarte ICOC ¶¶ 4(A)(1), 4(C)(1)-(3), 4(D), 5(C), 10(A), 11, 12 Schedule N,
11   Schedule I) with id. (Voelz Decl. Ex. RRR, Cartage ICOC ¶¶ 4(A)(1), 4(C)(1)-(3),
12   4(D), 5(C), 10(A), 11, 12 Schedule N, Schedule I)), two of the Plaintiffs in the
13   instant action (Acosta and Luciano) never even contracted with XPO Port
14   Services—they contracted with XPO Cartage instead. Id. ¶ 7.
15         First, the terms of the ICOC (and the ways that Contractors operated under
16   them) show that XPO reasonably believed that its Contractors were independent
17   contractors, under the Borello test. See S.G. Borello & Sons, Inc. v. Dep’t of Indus.
18   Relations, 48 Cal. 3d 341, 351 (1989) (en banc).10
19                           . See SUF ¶ 16 (ICOC ¶ 4(A)(1)) (“
20

21                                             ”); see also id. Schedule N.11 Indeed,
22

23   Regs. tit. 8, § 13520 (“The fact that a defense is ultimately unsuccessful will not
     preclude a finding that a good faith dispute did exist.”).
24   10
        While Plaintiffs now seek to have their claims decided under the ABC test, that
25   test was inarguably not the standard throughout the Class Period. Accordingly, it is
     XPO’s good faith belief under the then-operative (i.e., Borello) standard that must
26
     be considered.
     11
27      The language in the ICOC necessarily reflects the opinions of XPO’s attorneys,
     who (as this lawsuit shows) have advised XPO that Plaintiffs are independent
28
     contractors. See SUF ¶ 17.
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 1   despite Plaintiffs’ claims, Contractors understood—and many still understand and
 2   contend—that they are independent contractors. See, e.g., id. ¶¶ 18, 19. The
 3   ICOC’s terms also grant Contractors the freedom from control indicative of an
 4   independent contractor relationship—freedoms that many Contractors readily
 5   exercised in running their businesses as they chose. See id. ¶¶ 28, 33, 59 (ICOC ¶
 6   4.A.1).
 7   •
 8

 9                          SUF ¶¶ 20, 22. Although drivers who contracted with XPO
10       through a corporate entity are excluded from the current class, (Dkt. 70-1 at
11       1:26-28), the fact remains that
12

13                                                         SUF ¶¶ 21, 22. While some
14       Contractors chose not to exercise these freedoms, providing only a single truck
15       and driving it themselves, id. ¶ 23, others did so—using those freedoms to grow
16       and run substantial businesses. Id. ¶ 24. A number of Port Services Contractors
17       amassed fleets of trucks and used second-seat drivers in order to maximize the
18       services they could provide XPO. See id. Cartage Contractors did so too—one
19       Cartage Contractor, Davis Logistics, Inc., actively recruited drivers,
20

21                                                                      Id. ¶ 25. Another
22       Cartage contractor, Jesus Carreon, had his corporation, On The Rush Trucking,
23       contract directly with XPO, obtained three trucks, hired and paid seven to eight
24       drivers to drive them, and
25                  —realizing revenues of more than $            in 2017 alone. Id. ¶ 26.
26       In addition, Cartage contractor Jairo Moreno Martinez had his corporation, JMM
27       Trucking, contract with XPO, running at least five trucks and employing at least
28       six drivers in addition to Martinez to perform its contracted-for services and
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 1        realizing revenues in excess of $              in 2015, $        in 2016, and nearly
 2        $         in 2017. Id. ¶ 27.
 3   •
                                     12
 4                                        Id. ¶ 28 (ICOC ¶¶ 4.A.1, 4.D). Multiple Plaintiffs
 5        and declarants testified in this case that they chose whether to drive on any given
 6        day or to take the day—or even a week or two—off with no ramifications. Id.¶
 7        29. Indeed, some Contractors took vacations or days off without notifying
 8        anyone at XPO or notifying them only as a courtesy. Id. ¶ 30.
 9   •                                                                Id. ¶ 31 (ICOC ¶ 4.D).
10                                                                          —and, as evidence
11        in this case has shown, they do so every day. Id. ¶ 32.
12   •
13

14

15

16

17                                                                            Id. ¶ 33 (ICOC
18        ¶¶ 4.A.1, 10.A, 11). The record shows that Contractors exercised this discretion
19        in a number of different ways. For example, some Contractors used a truck they
20
     12
21     As multiple cases have held, efforts to ensure regulatory compliance do not
     constitute evidence of control for purposes of an employment analysis. See S.w.
22
     Rsch. Inst. v. Unemployment Ins. Appeals Bd., 81 Cal. App. 4th 705, 709 (2000)
23   (where a principal requires contractors to comply with “regulations imposed by the
     government, the principal is not exercising the manner and means of control as an
24
     employer” under California law); see also Bright v. Dennis Garberg & Assocs.,
25   2011 WL 13085923, at *5 (C.D. Cal. May 13, 2011) (granting defendant summary
     judgment on misclassification claims because “ensuring compliance with federal
26
     and state safety regulations does not constitute evidence of control”); Yessayan v.
27   FedEx Ground Package Sys., Inc., 2007 WL 5162454, at *2 (C.D. Cal. Jan. 3,
     2007). Accordingly, any restrictions XPO imposed on Contractors in order to
28
     ensure regulatory compliance are irrelevant to the question of its good faith belief.
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 1       already owned to perform services for XPO, id. ¶ 34, while others bought or
 2       leased vehicles in order to contract with XPO. Id. ¶ 35. Some Contractors
 3       bought insurance through a program facilitated by XPO, while others procured
 4       their own. Id. ¶ 36. Similarly, Contractors chose who would maintain their
 5       vehicles based on a number of different reasons, id. ¶ 37, and also chose where
 6       to fuel them. Id. ¶ 38. Contractors set the pay for second-seat drivers they
 7       hired. Id. ¶ 39. Also, because XPO did not dictate when drivers’ days began or
 8       ended (except as required by applicable regulations), Contractors set their own
 9       hours and those of their drivers in order to avoid traffic, id. ¶¶ 40, 41, fit their
10       schedules, id. ¶ 42, and/or to accommodate family responsibilities. Id. ¶ 43.
11       Some Contractors also varied their driving schedule over time, as well. Id. ¶ 44.
12   •
13

14                                                                         Id. ¶ 45 (ICOC ¶¶
15       4.C, 12); id. Schedule T. Port Services Contractors exercised this right during
16       the Class Period. Id. ¶ 46. Cartage Contractors did so as well. Id. ¶ 47. For
17       example, in 2016 JMM Trucking (owned by Plaintiff Martinez) contracted with
18       another company, IMEX, in addition to XPO, changing logos and DOT numbers
19       on three of its trucks. Id. ¶ 48. On The Rush Trucking (owned by Plaintiff
20       Carreon) used one truck to contract with another company, OTD, while its other
21       trucks were under contract with XPO. Id. ¶ 49. E-MAC Inc. (owned by
22       Plaintiff Mendoza) also provided services to       different companies (using a
23       different truck and driver) in addition to XPO in 2016 alone, realizing more than
24       $         in revenue that year. Id. ¶ 50. Other Contractors similarly performed
25       services for other companies while working for XPO as well. Id. ¶ 47.
26           Accordingly, XPO had a reasonable, good faith belief during the time in
27   question that the contractual agreement it had with Contractors—all of whom had
28   an explicit right to operate as they chose, could (and did) hire others to perform
                                                             MEMO. OF POINTS & AUTHORITIES ISO
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 1   some or all of their contracted-for services, could (and did) determine their own
 2   workload, could (and did) turn down work offered by XPO without consequence,
 3   had “sole” responsibility for operational decisions, could (and did) perform services
 4   for companies other than XPO at the same time, and paid the costs of the work they
 5   performed—were anything other than independent contractors under the Borello
 6   standard.
 7         Second, XPO’s good faith belief is demonstrated by its actions on the
 8   ground. XPO knows what it is like to have, manage and supervise employee truck
 9   drivers, as it utilizes them in its Less-Than-Truckload (“LTL”) division. Id. ¶ 51.
10   Notably, XPO exercises a much higher degree of control over LTL employee
11   drivers than it does with Plaintiffs. As an initial matter, LTL employee drivers are
12   paid by the hour, and have different onboarding requirements. Id. ¶ 52. LTL
13   employee drivers must undergo substantial training, including formal ride-alongs
14   with driver trainers, before XPO allows them to drive. See id. ¶ 53. Indeed, unlike
15   Contractors,
16                                                                 , id. ¶ 55, LTL can
17   and does spend months training non-driving employees to be commercial truck
18   drivers for XPO. Id. ¶ 54. By contrast, independent contractors like Plaintiffs are
19   already experienced commercial truck drivers and receive only a few hours of
20   orientation (with no road test or evaluation component) from XPO on its systems
21   and practices before they are offered loads. Id. ¶ 56. LTL drivers’ actions are also
22   subject to a much more thorough degree of review, including a formal discipline
23   process for violations that includes driver trainers, coaching, and counseling. See
24   id. ¶ 57. Contractors, by contrast, do not receive coaching or counseling when
25   violations occur. Id. ¶ 58.
26         In addition, XPO closely manages LTL drivers’ operations in ways that it
27   does not for Contractor drivers. Whereas
28                                                                                    , (see
                                                         MEMO. OF POINTS & AUTHORITIES ISO
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 1   id. ¶¶ 28-32, 40-43, 59 (ICOC ¶¶ 4.A.1, 4.D, 10.A)), XPO dictates LTL drivers’
 2   schedules and routes and does not permit them to reject loads. Id. ¶¶ 60-61. XPO
 3   also installs front- and rear-facing cameras in LTL drivers’ vehicles to monitor “bad
 4   behavior” such as “texting and driving, hard stops, [and] speed violations.” Id. ¶
 5   62. XPO does not similarly demand cameras in Contractors’ vehicles because it
 6   believes that such invasive oversight of independent contractors would be
 7   inappropriate. Id. ¶ 63 (“[A]lthough I would love to have them [cameras] from a
 8   safety perspective, [we] just feel it enacts too much control o[r] invasion of their
 9   business to do that.”). Also, when LTL drivers do not have a load, XPO has them
10   perform non-driving tasks, such as loading and unloading freight from the docks.
11   Id. ¶ 64. When Contractors have not accepted a load, by contrast, they are free to
12   decide what to do with that time—including hauling a load for one of XPO’s
13   competitors if they choose to do so. See id. ¶ 45 (ICOC ¶¶ 4.B-C, 12); id. Schedule
14   T; id. ¶¶ 46-50.
15         Third, the reasonableness of XPO’s belief is buttressed by the widespread use
16   of independent contractors in the industry. Id. ¶ 65. Indeed, all of the Plaintiffs
17   were independent contractors for other motor carriers before or after contracting
18   with XPO. See id. ¶ 66. The record also shows that XPO works closely with its
19   legal team to ensure that it has, and maintains, an independent contractor
20   relationship with its Contractors through the ICOC. Id. ¶ 17.
21         Accordingly, the record supports no genuine dispute over XPO’s good faith
22   belief that it had properly classified its business partners as independent contractors,
23   thereby precluding Plaintiffs’ fourth cause of action for failure to pay all wages due
24   upon separation (Cal. Labor Code § 203), eighth cause of action for failure to
25   furnish timely and accurate wage statements (Cal. Labor Code §§ 226, 266.3), and
26   related portions of the tenth cause of action for derivative PAGA claims (Cal. Lab.
27   Code §§ 2698 et seq.).
28
                                                          MEMO. OF POINTS & AUTHORITIES ISO
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 1         D.     Meal & Rest Breaks
 2         The sixth and seventh causes of action in Plaintiffs’ Complaint respectively
 3   assert that XPO failed to provide Plaintiffs with uninterrupted meal periods and
 4   dedicated rest breaks. See Dkt. 129 ¶¶ 95, 105. Those claims both fail, however,
 5   because the record leaves no genuine dispute that (1) Plaintiffs had the discretion to
 6   (and did) take meal and rest breaks, and (2) Plaintiffs’ claims do not uniformly
 7   qualify for the short-haul exemption, and thus are preempted by federal regulations.
 8                1.     Plaintiffs Had Discretion to (and Did) Take Meal and Rest
 9                       Breaks
10         California law only requires that putative employers afford employees off-
11   duty meal and rest breaks.
12

13

14   Indeed, XPO Port Services’ safety specialist encouraged Plaintiffs to take their
15   breaks, and Plaintiffs testified that they always (or almost always) took them. As a
16   result, Plaintiffs cannot establish any entitlement to relief for missed meal or rest
17   breaks.
18         Under California law, a putative employer need only “afford an off-duty
19   meal period” by relieving employees of all duties, relinquishing control over their
20   activities, and permitting them to take an uninterrupted 30-minute break. Brinker
21   Rest. Corp. v. Superior Court, 53 Cal. 4th 1004, 1039-41 (2012). If employees
22   elect to work through a meal break, the putative employer is not at fault because it
23   has no corresponding duty to “ensure that no work is done.” Id. at 1017. Also,
24   under California law, putative employers must “authorize and permit” employees to
25   take 10-minute rest breaks for every four hours of work or major fraction thereof.
26   See Indus. Welfare Comm’n Order No. 9-2001 § 12(A). This requires the putative
27   employer “to make a good faith effort to authorize and permit rest breaks in the
28   middle of each work period” but permits it to “deviate from that preferred course
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 1   where practical considerations render it infeasible.” Brinker, 53 Cal. 4th at 1031.
 2   “Under these standards, a plaintiff must show that the [putative] employer impeded,
 3   discouraged or prohibited employees from taking required breaks.” Silva v.
 4   AvalonBay Communities, Inc., 2016 WL 4251600, at *10 (C.D. Cal. Apr. 20,
 5   2016). Plaintiffs cannot make the requisite showing here.
 6

 7

 8   See, e.g., SUF ¶ 67 (ICOC ¶ 10(A)) (“
 9                                                                                      ”).
10   XPO Port Services’ safety specialist, Hector Carranza, recommended to Plaintiffs
11   that they should take uninterrupted breaks, “not work and just eat, relax.” See id. ¶
12   68, Carranza Dep. 40:10-41:15. Plaintiffs recounted Carranza’s reminders to them
13   to take their breaks. See, e.g., id., Daniels Dep. 162:16-164:3 (testifying that
14   Carranza told him to “make sure” he “take[s] a thirty-minute break within the first
15   five hours”).
16         Plaintiffs’ own testimony contradicts the Complaint’s claims, showing that
17   (a) they decided if and when to take breaks, and actually took breaks of at least 30-
18   minutes most if not every day; (b) XPO did not require them to report their breaks,
19   and (c) XPO never discouraged them from taking their breaks:
20   • Duarte testified that he takes a half-hour break when he has the chance, that no
21      one from XPO tells him when to take his breaks, and that he does not inform
22      anyone at XPO when he takes his breaks each day. Id. ¶ 69, Duarte Dep. 98:13-
23      99:18.
24   • Villatoro testified that he takes a 30-minute break each day, either after making
25      a delivery or at a rest stop, and that he uses his breaks to review his settlement
26      statements, read the Bible, call his wife and children, have something to eat, and
27      use the restroom. Id., Villatoro Dep. at 106:5-107:22. He testified that he does
28      not have to report his breaks to XPO and that no one from XPO told him he
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 1      could not take breaks throughout the day. Id. at 109:18-20, 109:25-110:3.
 2   • Mejia testified that he takes 30-minute breaks and uses the time to call family
 3      members or friends, check Facebook or surf the web, and have something to eat.
 4      Id., Mejia Dep. 109:11-110:20. He testified that XPO personnel reminded him
 5      to take his breaks and never said he could not take a break. Id. at 115:10-117:3.
 6   • Daniels testified that he takes two or three breaks each day, that his breaks “can
 7      last two, three hours,” and that he spends the time eating or cleaning his truck.
 8      Id., Daniels Dep. 157:25-158:18.
 9   • Acosta and Luciano both testified that they determine when to take their breaks:
10      Acosta recognized that no one at XPO tells him when to take his breaks and
11      never discouraged him from taking breaks, and Luciano admitted that he could
12      take additional breaks if he wanted. See id., Acosta Dep. 148:18-150:17, 154:3-
13      155:14; Luciano Dep. 90:5-91:5.
14   While Villatoro testified that he has missed breaks, he explained that it was only
15   “about once a month.” Id. ¶ 70, Villatoro Dep. 108:24-109:9. Villatoro also
16   testified that when Carranza learned of these occasions, Carranza reached out to
17   remind him to take his breaks. Id. at 108:12-23, 109:10-13.
18         Because Plaintiffs cannot dispute that they were afforded the discretion to
19   take breaks and that XPO did not interfere with their breaks (and, indeed,
20   encouraged them to take breaks), their claims for missed meal and rest breaks fail
21   as a matter of law. See Godina v. Wells Fargo Bank, N.A., 2019 WL 7882370, at
22   *10 (C.D. Cal. Nov. 22, 2019) (granting defendant summary judgment on
23   plaintiff’s meal and rest period claims, where plaintiff “admitted that no supervisor
24   ever told her to skip a break or forced her to work through a break” and absent
25   “specific evidence that she was forced to forgo” a break); Castillo v. Bank of Am.
26   Nat’l Ass’n, 2019 WL 7166055, at *6 (C.D. Cal. Oct. 29, 2019) (granting defendant
27   summary judgment on plaintiff’s meal and rest break claims where its policy
28   allowed plaintiff to take breaks, she never reported that she was unable to take
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 1   them, and she was not discouraged or prohibited from taking them); Valencia v.
 2   Equity Residential Servs. LLC, 2013 WL 12086347, at *5 (C.D. Cal. June 10, 2013)
 3   (granting defendant summary judgment on plaintiff’s rest period claim because it
 4   permitted plaintiff to schedule breaks at his discretion).
 5                2.     Plaintiffs’ Meal and Rest Claims Are Federally Preempted
 6                       Because They Do Not Uniformly Qualify for the Short-Haul
 7                       Exemption
 8         While the terms of the ICOC and Plaintiffs’ own experiences demonstrate
 9   that their meal and rest break claims cannot stand, Plaintiffs’ claims also fail
10   because they do not uniformly meet the short-haul exemption to the federal
11   regulations that otherwise preempt California’s meal and rest break rules.
12         Following this Court’s recent ruling on XPO’s motion to dismiss Plaintiffs’
13   meal and rest break claims, (Dkt. 128), Plaintiffs’ remaining meal and rest break
14   claims are limited to those Plaintiffs “who are short-haul drivers,” meaning that
15   they operated within a 100-mile radius prior to 2020 and within a 150-mile radius
16   after 2020 (see SUF ¶ 71), to align with the short-haul exemption to the federal
17   hours-of-service (“HOS”) regulations, which otherwise preempt California’s meal
18   and rest break rules. See Dkt. 128 at 4-5.
19         However, because Plaintiffs are not exclusively short-haul drivers, they are
20   not properly governed by that exception to the federal HOS regulations. See Morris
21   v. McComb, 332 U.S. 422, 434 (1947) (holding that the Interstate Commerce
22   Commission, which has since dissolved but whose regulatory power is still retained
23   by the Secretary of Transportation, had jurisdiction over truck drivers who
24   collectively drove approximately 4 percent of their routes interstate); Reich v. Am.
25   Driver Serv., Inc., 33 F.3d 1153, 1155 (9th Cir. 1994) (citing Morris to clarify that
26   “even a minor involvement in interstate commerce as a regular part of an
27   employee’s duties can subject that employee to the Secretary of Transportation’s
28   jurisdiction”); Connell v. Heartland Express, Inc., 2020 WL 813022, at *2 (C.D.
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 1   Cal. Feb. 6, 2020) (holding that “the Secretary of Transportation retains regulatory
 2   power over drivers like Plaintiff even where ‘a sporadic and minute portion’ of a
 3   driver’s activities ‘affects the safety of operation of trucks in interstate commerce’”)
 4   (quoting Morris, 332 U.S. at 438-39). Here, data from XPO’s operating systems
 5   shows that all six Plaintiffs drove numerous long-haul loads. SUF ¶ 72 (Decl. of
 6   Stevie Williamson ¶¶ 3-4). For example, Daniels drove 406 trips farther than 100
 7   miles between January 2014 and July 2019, Duarte drove 334 such trips between
 8   January 2014 and August 2019, Mejia drove 200 such trips between May 2014 and
 9   August 2019, and Villatoro drove 321 such trips between February 2016 and
10   August 2019. SUF ¶ 73. Plaintiffs Acosta and Luciano, who operated out of the
11   San Diego terminal of XPO Cartage, id. ¶¶ 7, 74, drove beyond the 100-mile limit
12   of the pre-2020 short-haul exemption for nearly all of their trips, 2,564 and 3,063,
13   respectively. Id. ¶ 75. These incidences of long-haul loads among the named
14   plaintiffs are more than sufficient, under Morris, to warrant the application of the
15   federal HOS preemption to contractors who chose, often on a daily basis, whether
16   to engage in short- or long-haul drives.
17         Testimony from Plaintiffs Villatoro, Mejia, and Daniels supports that they
18   preferred longer-distance hauls when available. See SUF ¶ 76, Villatoro Dep.
19   101:21-103:17; Mejia Dep. 105:25-106:22; Daniels Dep. 57:18-58:8. The
20   remaining Plaintiff in the class, Duarte, hauled a mix of longer-distance and short
21   hauls at his discretion. Id. (Decl. of Jose Moran ¶ 11 (Duarte “request[ed] moves
22   out to the Inland Empire first and then local moves.”)). Because the evidence
23   supports that Plaintiffs routinely accepted (and even preferred) long-haul loads that
24   are not subject to California’s meal and rest break rules, it simply does not follow
25   that XPO is responsible for meal and rest breaks on some days but not others—a
26   liability that would be entirely dependent on which loads Plaintiffs themselves
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 1   chose to carry on that day.13
 2            E.    Plaintiffs’ Complaint Asserts PAGA Claims Under Irrelevant
 3                  Labor Code Sections
 4            Plaintiffs’ tenth cause of action, for PAGA violations, initially claimed that
 5   XPO was responsible for penalties based on supposed violations of 41 different
 6   California Labor Code sections. Dkt. 129 ¶ 130. Plaintiffs subsequently agreed to
 7   drop their PAGA claims with regard to 28 of those 41 Labor Code sections, (see
 8   Dkt. 154), yet they inexplicably continue to allege PAGA claims related to
 9   California Labor Code sections 208 and 233, which are similarly irrelevant and
10   unsupported by the Complaint’s allegations or the record in this case. See Dkt. 129
11   ¶ 130.
12            Section 208 governs payment upon termination of employment, requiring
13   that “[e]very employee who is discharged shall be paid at the place of discharge,
14   and every employee who quits shall be paid at the office or agency of the employer
15   in the county where the employee has been performing labor.” Cal. Lab. Code §
16   208. In addition, to order to recover under section 208, employees who quit must
17   also show that they “demand[ed] tender of payment by returning to their place of
18   employment within 72 hours of quitting, or [ ] designate[d] a mailing address for
19   delivery of their final paycheck[.]” Brewer v. Gen. Nutrition Corp., 2014 WL
20   5877695, at *11 (N.D. Cal. Nov. 12, 2014); see also In re Wal–Mart Stores, Inc.
21   Wage & Hour Litig., 2008 WL 413749, at *3, 8 (N.D. Cal. Feb. 13, 2008) (section
22   208 requires a quitting employee to return to the employer to collect wages due and
23
     13
       At a minimum, this record demonstrates that such claims cannot be adjudicated
24
     on a classwide basis given that each class member’s records would have to be
25   individually examined to determine not only the length of their trips on each day,
     but the on and off duty periods for each class member. Some short haul trips may
26
     have been of such limited duration that the continuous on-duty time was
27   insufficient to require a meal or rest break. Additionally, as demonstrated above,
     many class members took these breaks and were encouraged to do so by XPO,
28
     leading to a plethora of individualized issues.
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 1   no waiting time penalties would accrue if the employee failed to do so). Plaintiffs’
 2   Complaint contains no allegations about the place where Contractors’ payments are
 3   made, let alone about final payments for Contractors who were terminated or quit,
 4   or that quitting Contractors (if any) made the requisite demands at the time of
 5   termination. The record provides no support either. Summary judgment on that
 6   claim is therefore appropriate.
 7         Labor Code Section 233, in turn, requires that “[a]ny employer who provides
 8   sick leave for employees shall permit an employee to use in any calendar year the
 9   employee's accrued and available sick leave entitlement, in an amount not less than
10   the sick leave that would be accrued during six months at the employee's then
11   current rate of entitlement,” for the reasons specified in California Labor Code §
12   246.5(a). Cal. Lab. Code § 233. Section 246.5(a) entitles employees, “[u]pon [ ]
13   oral or written request,” to use paid sick days to (1) care for themselves or a family
14   member who is ill, or (2) to obtain legal relief or other services or assistance if they
15   are a victim of domestic violence, sexual assault, or stalking. Cal. Lab. Code. §
16   246.5(a). Plaintiffs’ Complaint makes no allegations about sick leave at all, let
17   alone that Contractors made oral or written requests to use sick leave for the
18   specified purposes under California Labor Code § 246.5(a), or that XPO denied
19   those requests. Indeed, the terms of the ICOC definitively show that this cannot
20   have been the case,
21             . SUF ¶ 77 (ICOC ¶ 4.A.3 (“
22

23

24                         ”)). Accordingly, Plaintiffs’ PAGA claim based on California
25   Labor Code section 233, like their claim based on section 208, should be decided
26   against Plaintiffs.
27   V.    CONCLUSION
28         For the foregoing reasons, Defendants respectfully request that their Motion
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 1   for Partial Summary Judgment be granted in full.
 2

 3         Dated: June 11, 2021                     SCOTT VOELZ
 4                                                  O’MELVENY & MYERS LLP

 5                                                  By: /s/ Scott Voelz
 6                                                         Scott Voelz

 7                                                  Attorneys for Counter-Claimant XPO
 8                                                  Logistics Cartage, LLC and
                                                    Defendants XPO Port Services Inc.,
 9                                                  XPO Logistics Port Services, LLC,
10                                                  and XPO Logistics, Inc.

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